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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No. 2:24-cr-00205-HDV

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 1343: Wire Fraud; 18
                                             U.S.C. § 287: False, Fictitious,
13   CASIE HYNES,                            or Fraudulent Claims; 18 U.S.C.
       aka “Casie Little,”                   § 982: Criminal Forfeiture]
14
               Defendant.
15

16        The United States Attorney charges:
17                                     COUNT ONE
18                                [18 U.S.C. § 1343]
19   A.   INTRODUCTORY ALLEGATIONS
20        At times relevant to this Information:
21        Defendant and Relevant Entities
22        1.    Defendant CASIE HYNES, also known as “Casie Little,” was a
23   resident of Los Angeles County.
24        2.    Between October 2020, and August 2021, defendant HYNES
25   incorporated at least six businesses, including Casie Hynes
26   Consulting; Nasty Womxn Project, LLC; Joseph Little Consulting, LLC;
27   She Suite Collective, LLC; and Casie Little, most of which listed
28   defendant HYNES as the organizer and/or chief executive officer
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 1   (“CEO”) of the business and listed one of defendant HYNES’s

 2   residences as the business address.

 3        3.    Between in or around June 2020 and July 2021, defendant

 4   HYNES also obtained and caused to be obtained employer identification

 5   numbers (“EINs”) for at least 24 businesses, including Joseph Little,

 6   Caitlyn Hynes, Casie Little Consulting, College Access Project, Casie

 7   & Joseph Little, Joseph Little Consulting, NW Project, Nasty Womxn

 8   Project, She Suite Collective, SheSuiteCollective, She-Suite

 9   Partners, She Suite Partners, College Club, She Suite Ventures,

10   Madeleine Weber, NW Project CA, JL Education, Casie Hynes RVOC TR

11   04122021, CL Services, CL Education, and Casie Hynes Property TR.

12        The Paycheck Protection Program

13        4.      The United States Small Business Administration (“SBA”)
14   was an executive-branch agency of the United States government that
15   provided support to entrepreneurs and small businesses.           The mission
16   of the SBA was to maintain and strengthen the nation’s economy by
17   enabling the establishment and viability of small businesses and by
18   assisting in the economic recovery of communities after disasters.
19        5.    As part of this effort, the SBA facilitated government-
20   backed loans through banks, credit unions, and other lenders.
21        6.    The Coronavirus Aid, Relief, and Economic Security
22   (“CARES”) Act was a federal law enacted in or about March 2020 that
23   was designed to provide emergency financial assistance to Americans
24   suffering economic harm as a result of the COVID-19 pandemic.            One
25   form of assistance provided by the CARES Act was the authorization of
26   United States taxpayer funds in forgivable loans to small businesses
27   for job retention and certain other expenses, through a program
28   referred to as the Paycheck Protection Program (“PPP”).
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 1        7.     To obtain a PPP loan, a qualifying business was required to

 2   submit a PPP loan application, signed by an authorized representative

 3   of the business.    The PPP loan application required the business,

 4   through its authorized representative, to acknowledge the program

 5   rules and make certain affirmative certifications to be eligible to

 6   obtain the PPP loan.     One such certification required the applicant

 7   to affirm that “[t]he [PPP loan] funds w[ould] be used to retain

 8   workers and maintain payroll or make mortgage interest payments,

 9   lease payments, and utility payments.”        The applicant, through its

10   authorized representative, was also required to acknowledge that “I

11   understand that if the funds are used for unauthorized purposes, the

12   federal government may pursue criminal fraud charges.”           In the PPP

13   loan application, the small business, through its authorized

14   representative, was required to state, among other things, its:

15   (a) average monthly payroll expenses; and (b) number of employees.

16   These figures were used to calculate the amount of money the small

17   business was eligible to receive under the PPP, and a business could

18   not receive a loan of more than 2.5 times its average monthly payroll

19   costs.    In addition, businesses applying for a PPP loan were required

20   to provide documentation showing their payroll expenses.

21        8.     A PPP loan application was processed by a participating

22   financial institution (“lender”).       If a PPP loan application was

23   approved, the participating lender would fund the loan using its own

24   monies, which were guaranteed by the SBA.        Data from the application,

25   including information about the borrower, the total amount of the

26   loan, and the listed number of employees, was transmitted by the

27   lender to the SBA in the course of processing the loan.

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 1        9.    PPP loan proceeds were required to be used by the business

 2   on certain permissible expenses, including payroll costs, mortgage

 3   interest, rent, and utilities.      Under the applicable PPP rules and

 4   guidance, the interest and principal on the PPP loan was eligible for

 5   forgiveness if the business was eligible for the PPP loan it

 6   received, spent the loan proceeds on these permissible expense items

 7   within a designated period of time, and used a certain portion of the

 8   loan proceeds for payroll expenses.

 9        The Economic Injury Disaster Loan Program

10        10.   The Economic Injury Disaster Loan (“EIDL”) Program was an
11   SBA program that provided low-interest financing to small businesses,
12   renters, and homeowners in regions affected by declared disasters.
13        11.   The CARES Act authorized the SBA to provide EIDLs up to $2
14   million to eligible small businesses experiencing substantial
15   financial disruption due to the COVID-19 pandemic.          In addition, the
16   CARES Act authorized the SBA to issue advances of up to $10,000 to
17   small businesses applying for an EIDL.
18        12.   To obtain an EIDL and an advance, a qualifying business was
19   required to submit an application to the SBA and provide information
20   about its operations, such as the number of employees, gross revenues
21   for the 12-month period preceding the disaster, and cost of goods
22   sold in the 12-month period preceding the disaster.          In the case of
23   EIDLs for COVID-19 relief, the 12-month period extended from January
24   1, 2019, to January 31, 2020.      Applicants certified that all the
25   information in the application was true and correct to the best of
26   their knowledge.
27        13.   EIDL applications were submitted directly to the SBA and
28   processed by the agency with support from a government contractor.
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 1   The amount of the loan was determined, in part, on the information

 2   provided by the applicant about employment, revenue, and cost of

 3   goods, as described above.

 4        14.   Any funds issued under an EIDL or advance were issued

 5   directly by the SBA.     EIDL funds could be used for payroll expenses,

 6   sick leave, production costs, and business obligations, such as

 7   debts, rent, and mortgage payments.        If the applicant also obtained a

 8   loan under the PPP, the EIDL loan funds could not be used for the

 9   same purpose as the PPP loan funds.

10   B.   THE SCHEME TO DEFRAUD

11        15.   Beginning no later than in or around June 2020, and
12   continuing until at least in or around June 2021, in Los Angeles,
13   within the Central District of California, and elsewhere, defendant
14   HYNES, knowingly and with intent to defraud, devised, intended to
15   devise, and participated in a scheme to defraud lenders and the SBA,
16   and to obtain money and property from the lenders and the SBA by
17   means of material false pretenses, representations, and promises, and
18   the concealment of material facts.
19        16.   The fraudulent scheme operated and was carried out, in
20   substance, as follows:
21              a.   Defendant HYNES incorporated and/or obtained EINs for
22   a variety of businesses (collectively, the “HYNES Companies”).
23              b.   Defendant HYNES applied for PPP and EIDL loans on
24   behalf of the HYNES Companies.      In those applications, defendant
25   HYNES made false statements to lenders and the SBA, including false
26   representations regarding the number of employees to whom the
27   companies had paid wages and the amount of those purported wages, and
28   false certifications that the loans would be used for permissible
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 1   business purposes.    In some instances, and in order to conceal her

 2   involvement with the loans and make the companies seem more

 3   legitimate, defendant HYNES applied for the loans using the names and

 4   personal information of real persons as purported officers or

 5   employees of the businesses, knowing that those persons did not hold

 6   those roles and had not authorized defendant HYNES to use their names

 7   and information in connection with the applications.

 8               c.    In connection with those applications, defendant HYNES

 9   also electronically submitted, and cause to be submitted, false

10   documents to lenders in support of the fraudulent PPP and EIDL loan

11   applications, including false and fictitious bank and tax documents,

12   and documents bearing the forged signatures of real persons.

13               d.    At the time of these applications, defendant HYNES

14   knew that the representations regarding the numbers of employees and

15   purported wages paid and intended use of the loan proceeds were

16   false, the bank and tax documents were fabricated, and the signatures

17   were forged.     In making these false representations and submitting

18   these fabricated documents, defendant HYNES knew and intended that

19   the lenders would rely on them to approve the applications and

20   determine the amounts to be disbursed under the PPP and EIDL

21   programs.

22               e.    Defendant HYNES directed that PPP and EIDL loan

23   proceeds be deposited into bank accounts that defendant HYNES

24   controlled.

25               f.    Defendant HYNES then used the fraudulently obtained

26   PPP and EIDL loan proceeds for her own personal benefit, including

27   for expenses prohibited under the requirements of the PPP and EIDL

28   programs.

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 1        17.   Between June 2020 and June 2021, defendant HYNES submitted

 2   and caused to be submitted approximately 23 fraudulent PPP loan

 3   applications to various federally insured financial institutions and

 4   approximately 63 fraudulent EIDL applications to the SBA on behalf of

 5   the HYNES Companies seeking a total of approximately $3,174,323 in

 6   PPP and EIDL funds, and actually received approximately $2,255,244 in

 7   fraudulent proceeds from those loans based on the false and

 8   fraudulent statements, representations, and promises in the

 9   applications.

10   C.   USE OF THE WIRES

11        18.   On or about April 14, 2021, in Los Angeles County, within
12   the Central District of California, and elsewhere, defendant HYNES,
13   for the purpose of executing the above-described scheme to defraud,
14   transmitted and caused the transmission of, by means of wire
15   communications in interstate commerce, a PPP loan application in the
16   name of JL Education from California, to American Lending Center via
17   a server outside the State of California.
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 1                                     COUNT TWO

 2                             [18 U.S.C. §§ 287, 2(b)]

 3        19.   The Grand Jury re-alleges paragraphs 1 through 3 of this

 4   Information here.

 5   A.   INTRODUCTORY ALLEGATIONS

 6        At times relevant to this Information:
 7        The CARES Act and Coronavirus Response Credits
 8        20.   The Internal Revenue Service (“IRS”) was an agency of the
 9   United States responsible for collecting taxes and administering the
10   Internal Revenue Code.
11        21.   The CARES Act authorized an employee retention tax credit
12   (the “ERC”) that a small business could use to reduce the employment
13   tax it owed to the IRS.     To qualify, the business had to have been
14   operational in 2020 and to have experienced (1) at least a partial
15   suspension of the business’s operations because of a government
16   COVID-19 order (e.g., an order limiting commerce, group meetings, or
17   travel) or (2) a significant decline in profits.          The ERC equaled a
18   percentage of the wages that the business paid to its employees
19   during the quarter, subject to a maximum amount.
20        22.   The Families First Coronavirus Response Act (“Coronavirus
21   Response Act”) and its amendments authorized the IRS to give a credit
22   against employment taxes to reimburse businesses for the wages paid
23   to employees who were on sick or family leave and could not work
24   because of COVID-19 (the “paid sick and family leave credit,” and,
25   collectively with the ERC, the “COVID-19 Tax Credits”).           The paid
26   sick and family leave credit equaled the wages the business paid to
27   employees during the sick or family leave, subject to a maximum
28   amount.
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 1        23.   The taxpayer could request the COVID-19 Tax Credits on the

 2   IRS Form 941 (Employer’s Quarterly Federal Tax Return) (“Form 941”)

 3   and was required to truthfully state, among other things, the number

 4   of employees and business’s quarterly wages.         The COVID-19 Tax

 5   Credits could generate refunds, and the taxpayer could request that

 6   the IRS pay the refunds in advance, before the business filed its

 7   quarterly employment tax return, through the filing of an IRS Form

 8   7200 (Advance Payment of Employer Credits Due to COVID-19) (“Form

 9   7200”).

10        24.   Federal Tax Deposits (“FTDs”), among other things,

11   consisted of employment taxes, including taxes that were withheld

12   from employees’ wages.     Certain employers were required to make

13   periodic FTDs to the IRS, normally on a monthly or semiweekly basis.

14   On the IRS Form 941, the employer could then deduct the FTDs paid to

15   the IRS for the applicable quarter from the total amount of

16   employment taxes due to the IRS.

17        She Suite Ventures

18        25.   In or around January 2021, defendant HYNES obtained an EIN
19   on behalf of a business called She Suite Ventures.
20        26.   For tax years 2020 through 2021, She Suite Ventures had no
21   substantial business operations and IRS records reflect neither
22   (i) the issuance of any Forms W-2, Forms 1099, or other wage
23   reporting forms to any individuals, nor (ii) the payment of any FTDs
24   to the IRS on She Suite Ventures’ behalf.
25   B.   THE FALSE CLAIM
26        27.   On or about July 13, 2021, in Los Angeles County, within
27   the Central District of California, and elsewhere, defendant HYNES
28   made and presented, and willfully caused to be made and presented, to
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 1   the IRS, which is part of the United States Department of the

 2   Treasury, a false, fictitious, and fraudulent claim against the

 3   United States for the payment of a tax refund – namely, a Form 7200

 4   filed on behalf of She Suite Ventures for the fourth quarter of 2021,

 5   requesting $195,911.41 as an advance payment of COVID-19 Tax Credits

 6   – which claim defendant HYNES then knew to be false, fictitious, and

 7   fraudulent in that She Suite Ventures was not entitled to the claimed

 8   advance payment as reported on the return, including because She

 9   Suite Ventures did not have the number of employees claimed on the

10   return and had not paid employees the amount in wages, tips, and

11   other compensation reported on that return.

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 1                              FORFEITURE ALLEGATION

 2                                 [18 U.S.C. § 982]
 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal
 4   Procedure, notice is hereby given that the United States of America
 5   will seek forfeiture as part of any sentence, pursuant to Title 18,
 6   United States Code, Section 982(a)(2), in the event of the
 7   defendant’s conviction of the offense set forth in Count One of this
 8   Indictment.
 9        2.    The defendant, if so convicted, shall forfeit to the United
10   States of America the following:
11              (a) All right, title and interest in any and all property,
12   real or personal, constituting, or derived from, any proceeds
13   obtained, directly or indirectly, as a result of the offense,
14   including but not limited to $120,925.10 seized on or about May 24,
15   2023, from Bluevine checking account ending in 5915, held in the name
16   of Joseph Little Consulting, Joseph Little; and
17              (b) To the extent such property is not available for
18   forfeiture, a sum of money equal to the total value of the property
19   described in subparagraph (a).
20        3.    Pursuant to Title 21, United States Code, Section 853(p),
21   as incorporated by Title 18, United States Code, Section 982(b), the
22   defendant, if so convicted, shall forfeit substitute property, up to
23   the total value of the property described in the preceding paragraph
24   if, as the result of any act or omission of the defendant, the
25   property described in the preceding paragraph, or any portion
26   thereof: (a) cannot be located upon the exercise of due diligence;
27   (b) has been transferred, sold to or deposited with a third party;
28   (c) has been placed beyond the jurisdiction of the court; (d) has
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 1   been substantially diminished in value; or (e) has been commingled

 2   with other property that cannot be divided without difficulty.

 3

 4                                          E. MARTIN ESTRADA
                                            United States Attorney
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 8                                          Chief, Criminal Division
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